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               United States Court of Appeals
                                For the First Circuit
                              ____________________________

Nos. 11-1018, 11-1019

           EMILY MCINTYRE, as Administrator of the Estate of John L. McIntyre;
             CHRISTOPHER MCINTYRE, in his capacity as Co-Administrator
                        of the Estate of John L. McIntyre

                            Plaintiffs - Appellees/Cross-Appellants

                                                v.

                                       UNITED STATES

                             Defendant - Appellant/Cross-Appellee
                              -----------------------------------------

                                     H. PAUL RICO, ET AL

                                       Defendants
                              ____________________________

                                          JUDGMENT

                                  Entered: January 20, 2012
                                 Pursuant to 1st Cir. R. 27.0(d)

       Upon consideration of the parties' joint motion, it is hereby ordered that these cases be
voluntarily dismissed pursuant to Fed. R. App. P. 42(b) with each party to bear its own costs.

       Mandate to issue forthwith.

                                             By the Court:

                                             /s/ Margaret Carter, Clerk

cc:
A. Douglas Matthews
Alan D. Rose, Sr.
Albert F. Cullen, Jr.
Ann M. Donovan
Brian P. Fitzsimmons
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Bridget Bailey Lipscomb
Christine M. Roach
Christine Marie Genaitis
Christopher T. Meier
Dean A. Mazzone
Dina Michael Chaitowitz
Douglas I. Louison
Douglas S. Brooks
E. Peter Mullane
E. Peter Parker
Earle C. Cooley
Edward Berkin
Edward J. Lonergan
Edward M. Reilly
Edward T. Hinchey
Eric P. Christofferson
Frank Albert Libby
Frank C. Corso
George L. Garfinkle
James P. McDonald
James Patrick Duggan
James W. Simpson, Jr.
Jeffrey A. Denner
Jonathan Heuer Levy
Joseph J. Machera
Kate Miller Brown
Katherine A. Carey
Kevin J. Weeks
Lawrence Eiser
Mary McElroy Leach
Michael Anton Laurano
Michael K. Fee
Peter E. Gelhaar
Peter J. Perroni
Richard Montague
Richard E. Bowman
Robert Albert George, Sr.
Stephen Neyman
Stephen C. Pfaff
Steven M. Gordon
Thomas C. Tretter
Tory A. Weigand
William A. Brown
William E. Christie
